                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:19-cv-00348-FDW-DSC
 XPO LOGISTICS, INC.,                             )
                                                  )
         Plaintiff,                               )
                                                  )
 vs.                                              )
                                                  )       ORDER and NOTICE OF HEARING
 JESSICA NORTHROP,                                )
                                                  )
         Defendant.                               )
                                                  )

       THIS MATTER is before the Court following the removal of this action from the Superior

Court Division for Mecklenburg County, North Carolina. Although no renewed pleading has been

filed, the Court notes the pending Consent Order Continuing Temporary Restraining Order (Doc.

No. 1-1, pp. 70-71); Motion for a Preliminary Injunction, (Doc. No. 1-1, pp. 41-67); and previous

setting in state court for a hearing on said motion for July 22, 2019, (Doc. No. 1-1, p. 72), requires

prompt attention by this Court.

       Injunctive orders issued by a state court prior to removal “remain in full force and effect

until dissolved or modified by the district court.” 28 U.S.C. § 1450. "An ex parte temporary

restraining order issued by a state court prior to removal remains in force after removal no longer

than it would have remained in effect under state law, but in no event does the order remain in

force longer than the time limitations imposed by Rule 65(b), measured from the date of removal.”

Granny Goose Foods, Inc. v. Brotherhood of Teamsters and Auto Truck Drivers, Local No. 70,

415 U.S. 423, 439-40 (1974). Thus, unless a TRO is extended, it expires no later than 14 days

after the date of removal. Fed.R.Civ.P. 65(b)(2); Granny Goose Foods, Inc., 415 U.S. at 440 n.

15; see also Pantoja v. Countrywide Home Loans, Inc., 640 F. Supp. 2d 1177, 1183 n.5 (N.D. Cal.
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2009). The adverse party can consent to a longer extension or the district court can extend the

restraining order for up to an additional 14 days, for good cause shown, under Rule 65(b). See

Fed.R.Civ.P. 65(b)(2); Granny Goose Foods, Inc., 415 U.S. at 440.

       Here, Defendant removed this action on July 19, 2019. At the time of removal, the state

court had granted Plaintiff’s Motion for a Temporary Restraining Order, filed contemporaneously

with the Complaint, and the parties had consented to extension of that Order, resulting in the state

court issuing a “Consent Order Continuing Temporary Restraining Order” on July 11, 2019. (Doc.

No. 1-1, pp. 70-72; hereinafter “Consent Order.”) The Consent Order set forth the terms of the

TRO and provided it “shall remain in effect until the hearing on the motion for a preliminary

injunction, unless extended before that time.” (Id. at p. 71.) Prior to this case being removed to

this Court, the state court had scheduled a hearing for July 22, 2019.

       Based on the record before the Court, the Court finds the Consent Order shall continue for

14 days from the removal on July 19, 2019. See Fed. R. Civ. P. 65(b); 28 U.S.C.A. § 1450; Pantoja

v. Countrywide Home Loans, Inc., 640 F. Supp. 2d 1177, 1183 n.5 (holding that where the

Temporary Restraining Order stated it “remains in full force until a preliminary injunction hearing

is held,” the removal date and Fed. R. Civ. P. 65(b)(2) – and not the original hearing date set in

state court – governed expiration date) (citing Granny Goose Foods, Inc., 415 U.S. at 440); see

also Bryfogle v. Carvel Corp., 666 F. Supp. 730, 735 (E.D. Pa. 1987) (“A federal court, to which

an action commenced in state court has been removed, has the authority to dissolve or modify

injunctions and orders entered in state court prior to removal.”)

       TAKE NOTICE that a hearing on whether Plaintiff is entitled to a Preliminary Injunction

shall take place on Monday, July 29, 2019, at 11:00 a.m. in Courtroom #1-1 of the Charles R.


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Jonas Federal Building, 401 W. Trade Street, Charlotte, North Carolina, 28202. Each side shall

be limited to twenty (20) minutes to present argument and evidence to the Court.

       IT IS FURTHER ORDERED that Plaintiff shall file a revised motion and brief in support

of their motion citing applicable federal law no later than 4:30 p.m. Wednesday, July 24, 2019.

Defendant shall have until 4:30 p.m. on Friday, July 26, 2019, to file any responsive pleading.

       IT IS SO ORDERED.

                                      Signed: July 22, 2019




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